CaSe 1-16-40104-nh| DOC 87 Filed 10/24/17 Entered 10/24/17 10236230

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
IN RE; Chapter 13
Case# 1-16-40104-nh1

Aixa l\/Iuir,

Debtor(s),

 

 

 

X
APPLICATION F()R DISMISSAL OF CHAPTER 13 CASE

Aixa Muir, by counsel, Kiva James, Esq., hereby certifies under the penalty of perjury
that:

1. The Debtor in the above captioned matter filed a Chapter 13 petition (“the case”) on
January11,2016.

2. Marianne DeRosa was appointed as the Standing Chapter 13 Trustee in this matter
and participation in Loss Mitigation was ordered.

3. Loss mitigation, Which is the basis for confirming a Chapter 13 Plan in this case, has
not resulted in a modification

4. The above entitled case has not been converted under Sections 706, 1112 or 1208 of
Title 11 of the United States Code.

5. Therefore, l request that this Court dismiss this case pursuant to 11 U.S.C. Section
1307(b).
Dated: October 24, 2017

 

 

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